                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN
_____________________________________________________________________
THE DRAGONWOOD CONSERVANCY, INC.,
PLEGUAR CORPORATION,
TERRY CULLEN
                  Plaintiffs,
vs.                                       Case No: 16:cv:0534

PAUL FELICIAN
PHIL SIMMERT II
                  Defendants
__________________________________________________________________________

                                   PLAINTIFFS’ R702 MOTION
                               To Exclude Sean Perry As Expert Witness


          NOW COME PLAINTIFFS by their undersigned counsel, and respectfully move the

court pursuant to FRE 702 -and other legal authorities cited- to exclude Sean Perry as an expert

witness for Defendants, in these proceedings.

          ALL FOR the reasons stated in the attached Brief in Support, and the Declaration of

Attorney Mark Murphy In Support (with attachments); filed herewith.


          WHEREFORE the Plaintiffs respectfully request Orders granting these requests made in

limine.


Dated: October 26, 2020
/s/ electronically signed by
Attorney Mark Murphy
Attorney Mark Murphy, WisBar#1017745
Counsel for Plaintiffs
657 S 72nd Street
Milwaukee, WI 53214
414.322.5452 mobile
attorneymarkmurphy@sbcglobal.net




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